                                      3:19-cr-30065-SEM-TSH # 32                       Page 1 of 2
                                                                                                                                       E-FILED
                                                                                           Wednesday, 05 August, 2020 02:26:25 PM
A093(Rev. 12111)-Appearwe Bond
                                                                                                      Clerk, U.S. District Court, ILCD

                                   UNITED STATES DISTRICT COURT
                                                                  for the
                                                     Central District ofIllinois
                 United States of America                             )
                              v.                                      )
                                                                      }       Case No. 1-9-30065-01
                      Soott A. Young                                  )
                          Defendant                                   )

                                                     , APPEARANCE BOND

                                                       Defendant's Agreement
I,                       Scott A. Young                         (defendant), agree to follow every order of this court or any ,
court that considers this case, and I further agree that this bond may be forfeited if I fail:
             ( X ) to appear for court proceedings-;
             ( X ) if convicted, to surrender to serve a sentence that the court may impose; or
             ( X )       to comply with all conditions set forth in the Order Setting Conditions of Release.

                                                             TypeofBond
(    ) (1) 'Ibis is a personal recogniunce bond.

( X ) (2) This is an umecured bond of$ 10,000 0wn Rec:ognizance Bond .
(    ) (3) This is a secured bond of$
                                             - - - - - - - - - , secured by:
       (     ) (a) $ _ _ _ _ _ _ , in cash deposited with the court.

       (    ) (b) the agreement of the defendant and each surety to forfeit the follo~g cash or other property
              (dacribe du! ca.rll or otherpmpmy. illclllding cJaim.r Oil it- n,ch tu a liffl, mortgage, or loan - and a#tM:h proofof
              DWMnhip and vo/ueJ:



               If this bond is secured by real property, documents to protect the secured interest may be filed of record.

       (    ) (c) a bail bond with a solvent surety (attach a copy ofthe bail bond, or dncribe it and ldmtJfy dw-Slll'ety):




                                                Forfeiture or Releae of the Bond
Forfeiture ofthe Bond. 'Ibis appearance bond may be forfeited if the defendant does not comply with the above
agreement The court may immedi.,ly order the amount of the bond surrendered.to the United States, including ·the
security for the bond. if the defenda~f~not comply with the agreement. At the request of the. United States. the court
may order a judgment of forfeiture ag~t the defendant and each surety for the entire amount of the.bond, including
interest and costs.
                                                                     3:19-cr-30065-SEM-TSH # 32                                                         Page 2 of 2

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 A098(Rov.12/ll) ·AppearuceBoad



  Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
· security -will be-released whea either: O) the defendant is founch1ot guilty on all charges, or (2) the defendant reports to
 serve a sentence.

                                                                                                                    Declarations

:-OwifiT§hip of the Propeny. I, the defendant - and each surety- declare under penalty of perjury that:.
          (1)              all owners of the property securing this appearance bond are included on the bond;
          (2}              the property is not subject to clauns, CKcept·as.deseribed above; ~
          (3)              I will not sell the property. allow further claims to be made against it, or do anything to reduce its value
                          ·while this appearance bond is in,d,fect. .. - -
 Acceptance. •l,., tbe defendant -- 'and each.surety -: ,have.read this appearance bond and have"'eitber ~ all the conditions ..
 of release set by the court or had them explained to.me: l agree to this Appearance Bona.:

                                                                                                                                                          .    t;




 I, the defendant-and each surety-declare under penalty of perjury lhat this infonnation is uue. (See 28 u.s.c. § 1746.)

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 Dare:    .2 (1J1})-e                                                                                                                         s/ Scott A. Young
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                                                                                                                                                       CJ//-        I   I
 Dare:   '?- 3 , J () :)....6                                                                                                                 s/ Shig Yasunaga




                                                                                                                                         s/ Tom Schanzle-Haskins




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